IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

Steven A. Sin ntoas AOADICIER )
(full name) (Register No). )

 

 

Case No.

 

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Plaintiff(s). 7
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v. CHE STATE OF MTSIOURT, )
Dinwa Turne®, Dsaac JSohushn,
TACKS County Cehitthon (cake.
and Advance Corte Sioned delthcas) Defendants are sued in their (check one):

 

 

 

(Full name) ___ Individual Capacity
MESO COUNTY SHC RRIEF Depneruee) Official Capacity
PAL FORTE ) _X Both

Defendant(s).

COMPLAINT UNDER THE CIVIL RIGHTS ACT OF 42 U.S.C. § 1983
L Place of present confinement of plaintiff(s): —cackon County Lekation (i ke

 

Ii. Parties to this civil action:
Please give your commitment name and any another name(s) you have used while

incarcerated.

A. Plaintiff Seven Sez ent A. Register No. KOLO 7¢ 8V2

Address /.300 hekky ST. wales hy, M10. cV/be

 

B. Defendant THE. STATE OF MESSOULL, (MANA. TueNeR , L Sanc Sohuttions
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SHERRIZE, CMEEE
For additional plaintiffs or defendants, provide above information in same format on a

separate page.

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Id.

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Do your claims involve medical treatment? Yes X No

 

Do you request a jury trial? Yes_ X No
Do you request money damages? Yes_X No
State the amount claimed? $ be Somer ba A rctoal/punitive)

Are the wrongs alleged in your complaint continuing to occur? Yes X No —

Grievance procedures:

A. Does your institution have an administrative or grievance procedure?

Yes X No

B. Have the claims in this case been presented through an administrative or grievance
procedure within the institution? Yes X No

 

C. Ifa grievance was filed, state the date your claims were presented, how they were

presented, and the result of that procedure. (Attach a copy of the final result.)

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D. If you have not filed a grievance, state the reasons.

 

 

 

 

Previous civil actions:

A. Have you begun other cases in state or federal courts dealing with the same facts involved

in this case? Yes X No
B. Have you begun other cases in state or federal courts relating to the conditions of or
treatment while incarcerated? Yess X No

C. If your answer is “Yes,” to either of the above questions, provide the following
information for each case.

(1) Style: STAN A. Stamens VS, THE STE OE LMT Sete
(Plaintiff) (Defendant)
(2)Datefiled:_ Septen ber (% 2020

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(3)Courtwherefiled: Umieel Ste Datic QucY Wash Derby & of Mi

(4) Case Number and citation:_ £0 ~ 734-CV- W-2P -?

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Ch be nt et tlt S27 :

 
  

(5) Basic claim made:

  

(6) Date of disposition: Ste. OG PEN

(7) Disposition: UM RESOLVER
(Pending) (on appeal) (resolved)
(8) If resolved, state whether for:

 

(Plaintiff or Defendant)
For additional cases, provide the above information in the same format ona separate page.

Statement of claim:

State here as briefly as possible the facts of your claim. Describe how each named defendant
is involved. Include the names of other persons involved, dates and places. Describe
specifically the injuries incurred. Do not give legal arguments or cite cases or statutes. You
may do that in Item “B” below. If you allege related claims. number and set forth each claim
in a separate paragraph. Use as much space as you need to state the facts. Attach extra
sheet s, ifnecessary. Unrelated separate claims should be raised in a separate civil action.

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Relief: State briefly exactly what you want the court to do for you. Make no legal arguments.

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Counsel:

A. If someone other than a lawyer is assisting you in preparing this case, state the person’s
name. _

B. Have you made any effort to contact a private lawyer to determine if he or she would
represent you in this civil action? Yes X'_ No

If your answer is “Yes,” state the names(s) and address(es) of each lawyer contacted.

 

 

 

C. Have you previously had a lawyer representing you in a civil action in this court?

Yes No _X:

If your answer is “Yes,” state the name and address of the lawyer.

 

 

I declare under penalty of perjury that the foregoing is true and correct.

of
Executed (signed) this Zz 3° day of Novowber vou ber 2020

De teaddr Jo SO20 SSS LO

Signature(s) of Plaintifi(s)

 

 

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